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                     UNITED STATES DISTRICET COURT
                    SOUTHERN DISTRICT OF NEW YORK


PALO ALTO NETWORKS, INC.,                    Case No. 1:22-cv-02306-ER

                        Plaintiff,

      v.

TAASERA LICENSING LLC and QUEST PATENT
RESEARCH CORPORATION,

                        Defendants.




                  MEMORANDUM OF LAW IN SUPPORT OF
           DEFENDANT QUEST PATENT RESEARCH CORPORATION’S
            MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
                 JURISDICTION, OR IN THE ALTERNATIVE,
                TO DISMISS FOR FAILURE TO STATE A CLAIM
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I.     INTRODUCTION

       This declaratory judgment action against defendant Quest Patent Research Corporation

(“Quest”) should be dismissed for lack of subject matter jurisdiction because there is no case or

controversy between Quest and plaintiff Palo Alto Networks, Inc. (“Palo Alto”).



                            Instead, it appears that Palo Alto included Quest as a defendant in an

effort to manufacture personal jurisdiction in this Court over the patent owner, Taasera Licensing

LLC (“Taasera”).

       As more fully set forth below, in actions seeking a declaration of non-infringement of a

patent, the plaintiff can only sue a party that can affirmatively sue for patent infringement, namely,

the patent owner or its exclusive licensee. The First Amended Complaint in this action does not

allege any facts (nor can it) that Quest is the owner or exclusive licensee of the patents-in-suit.




                                                                                    , subject matter

jurisdiction does not exist with respect to Quest. Accordingly, this action should be dismissed

against Quest.

       This action should also be dismissed under Federal Rule of Civil Procedure 12(b)(6) for

failure to state a claim because Palo Alto has wholly failed to provide a factual basis for its claims

of non-infringement. Palo Alto’s Complaint includes no allegations of fact, and merely repeats for

each claim that it “is not infringing and has not infringed.” Such allegations fail to meet the
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standards for sufficiently pleading a claim set forth in Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

II.    BACKGROUND

       A.      The Parties

       Taasera owns all right, title, and interest in and to U.S. Patent Nos. 6,842,796 (the “’796

Patent”), 7,673,137 (the “’137 Patent”), 8,127,356 (the “’356 Patent”), 8,327,441 (the “’441

Patent”), 8,850,517 (the “’517 Patent”), 8,955,038 (the “’038 Patent”), 8,990,948 (the “’948

Patent”), 9,092,616 (the “’616 Patent”), and 9,923,918 (the “’918 Patent”) (collectively, the

“Patents-in-Suit”). (Ex. 1, ¶ 17). The Patents-in-Suit generally cover systems and methods for

network security systems. Five of the Patents-in-Suit were invented by International Business

Machines (“IBM”), and the remaining four Patents-in-Suit were invented by Taasera, Inc. (Id.,

¶¶ 19, 20).




       According to the First Amended Complaint, Palo Alto is a corporation organized under the

laws of Delaware, with its principal place of business at 3000 Tannery Way, Santa Clara,

California 95054. (Dkt. 21, ¶ 2).


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       B.      Eastern District of Texas Action

       On February 25, 2022, Taasera filed a complaint against Palo Alto in the Eastern District

of Texas (the “E.D. Tex. Action”) alleging infringement of the Patents-in-Suit. (See Ex. 1). Quest

was not a plaintiff in the E.D. Texas Action and was not even mentioned in the complaint. (Id).

       Palo Alto was served on March 16, 2022. (Ex. 2). On March 18, 2022, Taasera filed a

notice of voluntary dismissal, and the case was subsequently dismissed on March 22, 2022. Exs.

3 and 4.

       C.      The Instant Declaratory Judgment Action

       On March 22, 2022, after the E.D. Texas Action was dismissed, Palo Alto filed a complaint

for declaratory judgment against Quest in this Court. (Dkt. 1). Palo Alto filed its First Amended

Complaint (the “Complaint”), on May 14, 2022. (Dkt. 21). The Complaint asserts claims for

declaratory judgment of non-infringement as to the Patents-in-Suit. (Dkt. 21, ¶ 1). In the

Complaint, Palo Alto offers two paragraphs addressing the “DISPUTE BETWEEN PALO ALTO

NETWORKS AND TAASERA LICENSING CONCERNING THE PATENTS-IN-SUIT” (Dkt. 21,

¶ 20, Heading (emphasis added)):

               20. On February 25, 2022, Taasera Licensing, by and through its
               attorneys, filed a lawsuit against Palo Alto Networks in the United
               States District Court for the Eastern District of Texas. See
               Complaint, Taasera Licensing LLC v. Palo Alto Networks, Inc., No.
               2:22-cv-00062-JRG-RSP (E.D. Tex. Feb. 25, 2022). Taasera
               Licensing’s Complaint alleges that Palo Alto Networks infringes
               the Patents-in-Suit and provides “examples” of allegedly infringing
               Palo Alto Networks products: Palo Alto Cortex XDR, PAN-OS, and
               Next Generation Firewalls (NGFW). (collectively, the “Accused
               Products”). See, e.g., id. ¶ 30. On March 18, 2022, after having
               served Palo Alto Networks with that Complaint, Taasera Licensing
               unilaterally and voluntarily dismissed that action—but did so
               without prejudice.

               21. Accordingly, an actual and justiciable controversy exists
               between Palo Alto Networks and Defendants concerning whether
               Palo Alto Networks infringes one or more claims of any of the


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               Patents-in-Suit. Palo Alto Networks now seeks a declaratory
               judgment that Palo Alto Networks does not infringe the claims of
               the Patents-in-Suit.

(Id., ¶¶ 20, 21 (emphasis added)). Quest is not mentioned once in Palo Alto’s allegations that an

actual and justiciable controversy exists, which is based entirely on a prior lawsuit between Taasera

and Palo Alto. (Id.).

III.   LEGAL STANDARD

       A.      Motion To Dismiss Standard

       Under Federal Rule of Civil Procedure 12(b)(1), the Court may dismiss a complaint for

lack of subject matter jurisdiction “when the district court lacks the statutory or constitutional

power to adjudicate it.” Arar v. Ashcroft, 532 F.3d 157, 168 (2d Cir. 2008) (vacated on other

grounds) (internal citations and quotation marks omitted). “The Court’s first inquiry must be

whether it has the constitutional or statutory authority to adjudicate a case. If there is no subject

matter jurisdiction, the Court lacks power to consider the action further.” ICOS Vision Sys. Corp.,

N.V. v. Scanner Techs. Corp., 699 F. Supp. 2d 664, 668 (S.D.N.Y. 2010) (citation omitted).

       In reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1), “the

court must take all facts alleged in the complaint as true and draw all reasonable inferences in favor

of plaintiff.” Morrison v. Nat’l Australia Bank Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (quoting

Natural Res. Def. Council v. Johnson, 461 F.3d 164, 171 (2d Cir. 2006)). However, “the tenet that

a court must accept as true all of the allegations contained in a complaint is inapplicable to legal

conclusions.” Iqbal, 556 U.S. at 678; see also Twombly, 550 U.S. at 555 (stating that while a

complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations,

courts “are not bound to accept as true a legal conclusion couched as a factual allegation.”)

(citations and quotations omitted). “A plaintiff asserting subject matter jurisdiction has the burden




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of proving by a preponderance of the evidence that it exists.” Makarova v. United States, 201 F.3d

110, 113 (2d Cir. 2000).

       B.      Declaratory Judgment Jurisdiction

       The Declaratory Judgment Act is not an independent basis for subject matter jurisdiction.

See Prasco, LLC v. Medicis Pharm. Corp., 537 F.3d 1329, 1335 (Fed. Cir. 2008). Instead, it

provides a remedy if the court already has jurisdiction. Id. A federal court’s jurisdiction under the

Declaratory Judgment Act is limited by Article III which restricts the judicial power to actual

“cases” or “controversies.” U.S. CONST. Art. III; Id. The party seeking the declaratory judgment

bears the burden of proving facts supporting the court’s jurisdiction at the time the complaint was

filed and throughout the case. Benitec Australia, Ltd v. Nucleonics, Inc., 495 F.3d 1340, 1344 (Fed.

Cir. 2007). Federal courts have jurisdiction only if the “facts alleged, under all the circumstances,

show that there is a substantial controversy, between parties having adverse legal interests, of

sufficient immediacy and reality to warrant the issuance of a declaratory judgment.” Medlmmune

Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2009).

       “In the context of conduct prior to the existence of a license, declaratory judgment

jurisdiction generally will not arise merely on the basis that a party learns of the existence of a

patent owned by another or even perceives such a patent to pose a risk of infringement, without

some affirmative act by the patentee.” SanDisk Corp. v. STMicroelectronics, Inc., 480 F.3d 1372,

1380-81 (Fed. Cir. 2007) (emphasis added). The case or controversy requirement can be satisfied

by “conduct that can be reasonably inferred as demonstrating intent to enforce a patent . . . .”

Hewlett Packard Co. v. Acceleron LLC, 587 F.3d 1358, 1363 (Fed. Cir. 2009). The court must

decide whether the facts as pled would establish sufficient affirmative conduct by the patent holder

asserting a specific patent against identified ongoing or planned activity of the declaratory

judgment plaintiff. SanDisk Corp., 480 F.3d at 1381. The question of whether conduct may be


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reasonably inferred as demonstrating such an intent is objective; the declaratory judgment

plaintiff’s subjective belief is “irrelevant.” Hewlett Packard Co., 587 F.3d at 1363.

IV.    ARGUMENT

       C.      The Complaint Should Be Dismissed Because Palo Alto Cannot Establish
               Subject Matter Jurisdiction

                   1. There Is No Case or Controversy Because Quest Has No
                      Legal Rights to the Patents-In-Suit

       The Complaint should be dismissed because there is no case or controversy between Quest

and Palo Alto concerning infringement of the Patents-in-Suit. A proper defendant in a declaratory

relief action for non-infringement is a party who has standing to sue as a plaintiff in an

infringement action. Fina Rsch., S.A. v. Baroid Ltd., 141 F.3d 1479, 1481 (Fed. Cir. 2008).

Standing in an action for patent infringement rests with the patent owner or the exclusive licensee.

35 U.S.C. §§ 100, 281; WiAV Sols. LLC v. Motorola, Inc., 631 F.3d 1257, 1264 (Fed. Cir. 2010);

Spine Sols., Inc. v. Medtronic Sofamor Danek USA, Inc., 620 F.3d 1305, 1317-18 (Fed. Cir. 2010).

The Complaint does not (and cannot) allege that Quest owns or is the exclusive licensee for the

Patents-in-Suit, and therefore, there can be no case or controversy.

       Here,

                     The Complaint does not allege otherwise. Nor does the Complaint allege that

Quest has a legal interest in the Patents-in-Suit (such as being Taasera’s exclusive licensee)

providing it with standing to sue Palo Alto affirmatively for infringement. “[B]ecause [Quest has]

no legal interest in the [Patents-in-Suit] and therefore could not bring suit for patent infringement,

there [i]s no actual controversy between [the parties] that would support jurisdiction under the

Declaratory Judgment Act.” Fina Research, 141 F.3d at 1480-81.




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                    2. There Is No Case or Controversy Because Quest Has Not
                       Taken Any Affirmative Steps to Enforce Patent Rights
                       Against Palo Alto

        There is no case or controversy because Quest has never taken an affirmative act to enforce

any right related to the Patents-in-Suit. “[T]o establish an injury in fact traceable to the patentee, a

declaratory judgment plaintiff must allege both (1) an affirmative act by the patentee related to the

enforcement of his patent rights, and (2) meaningful preparation to conduct potentially infringing

activity.” Ass’n for Molecular Pathology v. U.S.P.T.O., 653 F.3d 1329, 1343-48 (Fed. Cir. 2011)

(internal citations omitted); see also SanDisk Corp., 480 F.3d at 1380-81 (discussing affirmative

act requirement). When a complaint for declaratory judgment does not allege an affirmative act by

the patent holder, the complaint should be dismissed. Innovative Therapies, Inc. v. Kinetic

Concepts, Inc., 599 F.3d 1377, 1382 (Fed. Cir. 2010).

        Here, the Complaint does not allege that Quest took any affirmative acts in an attempt to

enforce the Patents-in-Suit against Palo Alto so as to warrant declaratory relief. (See Dkt. 21, ¶¶ 20,

21). The Complaint does not even allege that Quest has ever taken or threatened any legal action

against Palo Alto whatsoever. Instead, the Complaint alleges that a controversy exists because

Taasera, not Quest, filed a patent infringement action in Texas. (Id.). Palo Alto relies wholly on

Taasera’s Complaint in the E.D. Tex. Action to support its allegation that this Court has subject

matter jurisdiction over this action against Quest. But Quest was never a party to that litigation,

and the lack of any affirmative conduct by Quest precludes a declaratory judgment claim for non-

infringement against Quest.

        Palo Alto alleges in the personal jurisdiction section of the Complaint that Taasera (alone

or together with Quest) negotiated and/or entered into one or more patent acquisition agreements

for one or more of the Patents-in-Suit in this judicial district, that Taasera (alone or together with

Quest) entered into legal representation agreements relating to enforcement of the Patents-in-Suit


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with the law firm of Fabricant LLP in this judicial district, and that Taasera entered into one or

more agreements in this judicial district with Quest, in relation to enforcement of the Patents-in-

Suit. (Dkt. 21, ¶¶ 6-9). These three allegations made “upon information and belief” lack factual

support and, even if taken as true, wholly fail to establish that Quest took affirmative action to

legally enforce the Patents-in-Suit. The private agreements purportedly executed between Taasera,

and its parent company, business partner, and legal counsel are wholly unrelated to Palo Alto and

Palo Alto’s infringement. Therefore, the agreements cannot establish the affirmative act

requirement is met.

       Palo Alto’s allegations plainly do not establish that an actual case or controversy exists

between Palo Alto and Quest. Accordingly, this Court does not have subject matter jurisdiction

over this case, and it should be dismissed as against Quest.

       D.      QUEST AND TAASERA ARE NOT ALTER EGOS

       In the Complaint, Palo Alto alleges, on information and belief, that Taasera and Quest are

alter egos. (Dkt. 21, ¶¶ 4, 9). Palo Alto fails to allege that any of Taasera’s activities should be

imputed to Quest. Even if it did, neither Defendant was dominated by the other and there is no

alleged fraud resulting from any domination.

               3.      Quest And Taasera Are Not Alter-Egos

       To establish that parties are alter egos of each other requires evidence showing (1) “that

 the owner exercised complete domination over the corporation with respect to the transaction at

 issue” and (2) “that such domination was used to commit a fraud or wrong that injured the party

 seeking to pierce the veil.” Thrift Drug, Inc. v. Universal Prescription Adm’rs, 131 F.3d 95, 97

 (2d Cir. 1997) (internal quotation marks omitted); Am. Fuel Corp. v. Utah Energy Dev. Co., 122

 F. 3d 130, 134 (2d Cir. 1997). “A party seeking application of the alter ego doctrine must come

 forward with factual allegations as to both elements.” Bravado Int’l Grp. Merch. Servs., Inc. v.


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 Ninna, Inc., 655 F. Supp. 2d 177, 197 (E.D.N.Y. 2009) (citations, internal quotation marks, and

 brackets omitted). Texas (where Taasera was formed) and Delaware (where Quest was formed)

 use similar tests. In Texas, alter ego may be found only if there is evidence “that the two entities

 cease to be separate so that the corporate fiction should be disregarded to prevent fraud or

 injustice.” BMC Software Belgium, N.V. v. Marchand, 83 S.W.3d 789, 798-99 (Tex. 2002). In

 Delaware, “plaintiff must show both that (1) the owner and his corporation ‘operated as a single

 economic entity,’ and that (2) the owner’s actions contained ‘an overall element of injustice or

 unfairness.’” Cohen v. Schroeder, 248 F. Supp. 3d 511, 518 (S.D.N.Y. 2017), aff'd, 724 F. App'x

 45 (2d Cir. 2018) quoting NetJets Aviation, Inc. v. LHC Commc’ns, LLC, 537 F.3d 168, 174 (2d

 Cir. 2008) (alteration in original) (citation omitted). Taasera and Quest are not alter egos of one

 another under any of these tests.

        The factual allegations in the Complaint do not establish that either prong of the alter ego

 test is satisfied.

                       a.      Palo Alto Offers No Evidence That Either Defendant
                               Dominated the Other Such That It Had No Separate
                               Identity

        Quest and Taasera are separate and distinct entities. “[T]he separate existence and status of

a corporation is not lightly disregarded.” Music Mix Mobile LLC v. Newman, 592 B.R. 292, 302

(Bankr. S.D.N.Y. 2018).




Accordingly, neither Quest nor Taasera exercise complete domination over the other.


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       The only factual allegation in the Complaint which could potentially relate to a claim of

alter ego concerns purported inadequate capitalization. (Dkt. 21, ¶ 9). The evidence Palo Alto sets

forth in support of its allegation that Quest is undercapitalized “in order to avoid payment of any

adverse judgment or monetary sanctions against Quest or Taasera Licensing” is the following

statement from Quest’s Annual Report:

               Since the operating subsidiaries do not have any assets other than
               the patents, and the Company does not have any available financial
               resources to pay any judgment which a defendant may obtain against
               a subsidiary, such a judgement [sic] may result in the bankruptcy of
               the subsidiary and/or the loss of the patents, which are the
               subsidiaries’ only assets.

(Dkt. 21-12, at F-29). This fails to establish that Quest is undercapitalized. As the Second Circuit

has held, even if a corporation is underfunded and cannot meet obligations for litigation expenses

of another, “no reasonable jury would find that [defendant’s] actions caused [plaintiff] to suffer an

‘injustice or unfairness.’” Cohen, 724 F. App’x at 49. Even assuming arguendo that Taasera or

Quest were undercapitalized, it would not cause Palo Alto to suffer an injustice.

       The facts here are similar to In re Indus. Print Techs., LLC Pat. Litig., No. 3:15-md-2614-

M, 2015 WL 5918964, (N.D. Tex. 2015). There, the court rejected the contention that the wholly-

owned subsidiary was undercapitalized and that the parent should be joined as an alter ego

corporation to provide a source of recovery for attorney’s fees and costs. Id. at *3. There,

defendants “pled counterclaims only for declaratory judgments of non-infringement and invalidity

of the asserted patents.” Id. The court found that “[t]o the extent Defendants contend that ‘complete

relief’ includes recovery of fees and costs incurred in this litigation, they have not shown that—if

they were to prevail—[defendant] is so undercapitalized that it would be unable to satisfy any

award of fees or costs.” Id. The court further noted that defendant was sufficiently capitalized as

its assets included rights to the asserted patents. Id. The court there held that, “At this point in the



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litigation, Defendants’ entitlement to such an award is entirely speculative, and discovery into the

subject would result in delay and increase costs without advancing a resolution on the merits.” Id.

(emphasis added). Similarly, here, any argument that Palo Alto will succeed on its claims for

declaratory judgment and fees and costs is entirely speculative. Palo Alto has failed to show that

Defendants are undercapitalized, as

                     . The Court should reach the same conclusion here as the court in In re Indus.

Print Techs. and reject Palo Alto’s allegation that Quest and Taasera have inadequate

capitalization.

       The Complaint also cites Quest’s 2021 Form 10K, stating that Quest received a capital

advance of $250,000 to acquire the some of the Patents-in-Suit that were later assigned to Taasera.

(Dkt. 21, ¶ 9). This shows only that a parent corporation is working to establish its subsidiary and

“do[es] not remotely establish that [defendant] exercises complete domination.” Handal &

Morofsky, LLC v. Viatek Consumer Prod. Grp., Inc., No. 18 CIV. 1887 (ER), 2018 WL 5886122,

at *6 (S.D.N.Y. Nov. 8, 2018) (emphasis added). Notably, Palo Alto conveniently omitted from

the Complaint the prior sentence from the Form 10K, regarding the rest of the Patents-in-Suit:

“[o]n May 20, 2021, Taasera Licensing LLC, a wholly owned subsidiary, entered into an

agreement with Taasera, Inc. to acquire all right, title, and interest in a portfolio of seven United

States patents (the “Taasera Portfolio”) for $250,000.” (Dkt. 21-12, at F-16).



                                        Palo Alto also refers to Quest’s website where it lists its

subsidiaries, their patent portfolios, and litigations. (Dkt. 21, ¶ 9). The fact that a parent company

has knowledge of its subsidiaries and their assets and activities and publishes the same is evidence

of nothing. Indeed, “reliance on [Quest’s] website to show [Quest’s] domination of [Taasera] is




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completely unavailing.” Handal & Morofsky, 2018 WL 5886122, at *7.



                         b.      Palo Alto Has Failed to Show a Wrongful or Unjust Act
                                 Arising from the Alleged Domination

          Not only does the Complaint fail to sufficiently allege any domination over either

Defendant, but the Complaint is devoid of any allegations that “such domination was used to

commit a fraud or a wrong against [Palo Alto].” Music Mix, 592 B.R. at 302. Indeed, absent this

declaratory judgment action, there would be no case at all between Palo Alto and Quest. The

Complaint identifies no fraud or wrong committed against Palo Alto by either Taasera or Quest,

and none exists. Palo Alto only seeks a declaratory judgment that it does not infringe the Patents-

in-Suit and does not allege that it has been harmed in any way.

          Palo Alto’s claims for declaratory judgment of non-infringement do not involve any

monetary issues. Therefore, to the extent Palo Alto argues that Quest or Taasera are

“undercapitalized,” it is irrelevant to the case here. The Complaint does refer to the statement from

Quest’s annual report which related to judgments against Defendants for violation of “statutory

authority, regulatory authority, federal rules, local court rules, or governing standards relating to

the substantive or procedural aspects of such enforcement actions.” (Dkt. 21-12, at F-29).

However, no judgments of this kind are at issue here, and any argument that Palo Alto may obtain

legal fees stemming from its declaratory judgment action is wholly speculative and should be given

no weight.

          Accordingly, the Complaint fails to sufficiently allege that either prong of the alter ego test

is met.




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        E.      The Complaint Should Be Dismissed for Failure to State a Claim Under Rule
                12(b)(6)

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S.

at 678 (quoting Twombly, 550 U.S. at 570). “While legal conclusions can provide the framework of

a complaint, they must be supported by factual allegations.” Id. at 679. In ruling on a motion to

dismiss for failure to state a claim, the court must accept the factual allegations in the complaint as true

and draw all reasonable inferences in favor of the nonmoving party. Gregory v. Daly, 243 F.3d 687,

691 (2d Cir. 2001), as amended (Apr. 20, 2001).

        Here, the Complaint fails to include any allegations of fact in support of any claim for non-

infringement. (See Dkt. 21, ¶¶ 22-48). Plaintiff merely repeats the following allegation for each

claim: “Palo Alto Networks is not infringing and has not infringed, directly or indirectly, literally

or under the doctrine of equivalents, willfully or otherwise, any claim of the [Asserted Patents].”

Id., ¶¶ 23, 27, 31, 35, 39, 43, 47, 51, and 55. Palo Alto attempts to support its non-infringement

claims by reciting a single claim limitation for each of the Patents-in-Suit and stating that the

Accused Products allegedly do not perform that claim limitation. “[Palo Alto] fails to plead factual

allegations regarding non-infringement, and its conclusory allegations plainly are not sufficient to

state a plausible claim for non-infringement.” E&E Co. v. London Luxury LLC, 1:20-cv-09610,

2021 WL 5357474 at *3 (S.D.N.Y. Nov 17, 2021).

        The facts here are similar to E&E Co. There, the Court held that plaintiff’s allegation was

“conclusory and insufficient to state a claim” where the declaratory judgment counterclaim for

non-infringement “allege[d] that ‘London Luxury does not infringe the ’376 patent because the

accused products do not practice each claim of the ’376 patent.’” Id. at *3. Similarly, here, the

Complaint’s allegations are conclusory and lack any factual underpinnings.



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        Similarly, other courts have consistently reached the same holding as E&E Co. on the same

facts as here. See Comcast Cable Commc’ns, LLC v. OpenTV, Inc., 319 F.R.D. 269, 273 (N.D.

Cal. 2017) (dismissing non-infringement claim and noting “the amended complaint must go

beyond only stating in conclusory terms that each accused product or service meets the elements

of non-infringement and must also set forth factual allegations showing how each accused product

or service specifically does not meet at least one claim limitation, such that it does not infringe the

asserted patent”); Tannerite Sports, LLC v. Jerent Enters., LLC, No. 6:15-cv-00180-AA, 2016

WL 1737740, at *4 (D. Or. May 2, 2016) (dismissing non-infringement counterclaim when

defendant only stated it had not infringed on the plaintiff's patent and failed to point to any specific

facts in its incorporated “facts” section); Pilot Inc. v. NOCO Co. , No. CV-20-01452-PHX-SRB,

2021 WL 2188525, *4 (D. Ariz. 2021) (ruling that the accused infringer must plead facts showing

that its arguments of non-infringement and invalidity are plausible, i.e., the accused infringer is

“required to plead its counterclaims in accordance with Rule 8, Twombly, and Iqbal” thus the

“threadbare” allegations that defendant “has not infringed and does not infringe any valid and/or

enforceable claim of the ’653 Patent, either directly or indirectly, literally, under the doctrine of

equivalents, or otherwise” failed to state a claim); Webasto Thermo & Comfort N. Am., Inc. v.

Bestop, Inc., No. 16-cv-13456, 2017 WL 4535290, *3-*5 (E.D. Mich. Oct. 11, 2017) (dismissing,

with leave to amend, accused infringer’s boiler plate declaratory judgment counterclaims of non-

infringement and invalidity with no facts pled as to why the accused product did not infringe);

PetEdge, Inc. v. Marketfleet Sourcing, Inc., No. 16-12562-FDS, 2017 WL 2983086, *3 (D. Mass.

July 12, 2017) (dismissing non-infringement declaratory judgment counterclaim since the accused

infringer had failed to plead any specific facts for why its accused product did not infringe.)




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        The Complaint does not include a single allegation of fact supporting any of its nine claims

of non-infringement. The Complaint should therefore be dismissed for failure to state a claim.

V.      CONCLUSION

        For the reasons described herein, the Court should dismiss the First Amended Complaint

for Declaratory Judgment for lack of subject matter jurisdiction or, in the alternative, for failure to

state a claim.

Dated: May 31, 2022                            Respectfully Submitted,
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2022, the foregoing was filed electronically with the Clerk

of Court to be served by operation of the Court’s electronic filing system to all counsel of record.


                                              /s/ Mark J. Rosenberg
                                                Mark J. Rosenberg
